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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ALVIANETTE GIBSON-KENNEDY on behalf of
LILLIAN R. GIBSON ‘ALLEGED
INCAPACITATED’,

                       Plaintiff,                                     CIVIL ACTION
                                                                       NO. 13-4324
       v.


MR. ROBERT M. SLUTSKY, ESQ., MS. DIANE
ZABONSKI, ESQ., MS. KALPANA DASHI,
LCSW, and MS. TIVIA OLSEN,

                       Defendants.

                                           ORDER

       AND NOW, this 27th                 day of January, 2014, upon consideration of

Plaintiff’s Complaint, Amended Complaint and the Motions to Dismiss of all Defendants,

it is hereby ORDERED that Defendants’ Motions to Dismiss are GRANTED and

Plaintiff’s Amended Complaint is DISMISSED with prejudice as to all defendants for

lack of subject matter jurisdiction. It is further ORDERED that the Clerk shall mark this

matter closed for statistical purposes.



                                                        BY THE COURT:



                                                        /s/ Jeffrey L. Schmehl
                                                        Jeffrey L. Schmehl, J.
